                                         Case 3:25-cv-02847-AMO                 Document 6      Filed 03/27/25          Page 1 of 2




                                  1                                         UNITED STATES DISTRICT COURT

                                  2                                     NORTHERN DISTRICT OF CALIFORNIA

                                  3
                                       Community Legal Services in East Palo Alto, et al.
                                  4                                                 ,           Case No. 3:25-cv-2847
                                                            Plaintiff(s),
                                  5
                                                                                                APPLICATION FOR ADMISSION OF
                                                    v.                                          ATTORNEY PRO HAC VICE
                                  6
                                        UNITED STATES DEPARTMENT OF
                                                                                                (CIVIL LOCAL RULE 11-3)
                                  7                                       ,
                                        HEALTH AND HUMAN SERVICES, et al.
                                                            Defendant(s).
                                  8
                                  9
                                  10            I, Frederick Evan Benz            , an active member in good standing of the bar of

                                  11    Supreme Court of North Carolina           , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: All Plaintiffs                         in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Alvaro Huerta                         , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     274787
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                        Amica Center for Immigrant Rights                       Immigrant Defenders Law Center
                                  16    1025 Connecticut Avenue NW, Suite 701                    634 S. Spring St., 10th Floor
                                                                                                 Los Angeles, CA 90014
                                        Washington, DC 20036

                                  17     MY ADDRESS OF RECORD                                    LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18    202-869-3984                                            (213) 338-7542
                                         MY TELEPHONE # OF RECORD                                LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                        evan@amicacenter.org                                    ahuerta@immdef.org
                                  20     MY EMAIL ADDRESS OF RECORD                              LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21
                                  22            I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 49077                    .
                                  24            A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                    0
                                                I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                         Case 3:25-cv-02847-AMO            Document 6        Filed 03/27/25     Page 2 of 2




                                  1             I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                  2    the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                  3    Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                  4    Dated: 03/27/2025                                             Frederick Evan Benz
                                                                                                     APPLICANT
                                  5
                                  6
                                  7
                                  8                                    ORDER GRANTING APPLICATION

                                  9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11            IT IS HEREBY ORDERED THAT the application of Frederick Evan Benz                     is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16
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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
